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uach REALTY sER\/lcEs, LTD., HOBsa:- ;.~¢ _
d/b/a LEolc MANAGEMENT GRouF>; l$§)§’it<. u.e.{‘é;§§&’§
MEMPHis 99 TowER, L.P. ' ' mt T"i» "~ii’ft»fi})$;§

P|aintiffS,

Docket No.: 04-2019 DV
vs.

ROYAL SURPLUS l_lNES INSURANCE
CONIPANY; THE HARTFORD STEAl\/l
BO|LER INSPECTION 81 |NSURANCE
CO|VIPANY OF CONNECT|CUT,

Defendants.

 

CONSENT ORDER OF D|SM|SSAL WITH PREJUD|CE

 

COME NOW, Plaintiffs, Ledic Realty Services, LTD. D/b/a Ledic l\/lanagement
Group and Nlemphis 99 Tower, L.P. and Defendants Roya| Surplus l_ines insurance
Company and The Hartford Steam Boiler Inspection & insurance Company of
Connecticut and stipulate to the Court that all matters in controversy between them
have been compromised and settled and that the action of the Plaintiffs against the
Defendants should be dismissed with full prejudice with each party paying their own
costs_

lT |S, THEREFORE, ORDERED, ADJUDGED, AND DECREED that the
action of the P|aintiffs against Defendants be, and the same hereby is, dismissed
with prejudice upon the merits with each party paying their own costs, for which let

execution issue, if necessary

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Tilis document entered on the docket sheet' in compliance
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With Rule 58 and/cr 79(a,l FHCP on

 

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APPROVED BY:
GLANKLER BROVVN, PLLC

Attorneys for P|aintiff Ledic Realty Services LTD.,
d/b/a Ledic Nlanagement Group and

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Attorney for The Hartford Steam Boiler
inspection & insurance Company of Connecticut

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:04-CV-02019 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

